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                    Exhibit A
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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                      No. 2:12-md-02323-AB
INJURY LITIGATION                               MDL No. 2323


Kevin Turner and Shawn Wooden,                  Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

          Plaintiffs,

              v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


                        MOVANTS’ LIMITED DISCOVERY REQUESTS
                             TO ALL SETTLING PARTIES

       Sean Morey, Alan Faneca, Roderick Cartwright, Robert Royal, Ben Hamilton, Jeff

Rohrer, and Sean Considine (collectively “Movants”), through undersigned counsel, request that

the Representative Plaintiffs and the NFL Parties each produce the documents requested below,

and answer the interrogatories below, on or before September 26, 2014.

       As under Rule 26(e)(1) of the Federal Rules of Civil Procedure, these document requests

are continuing and any additional documents relating in any way to these requests which

Representative Plaintiffs or the NFL acquire subsequent to the date of answering them, up to and

including the time of the fairness hearing, shall be furnished to Movants promptly after such

documents are acquired.
       Case 2:12-md-02323-AB Document 6169-2 Filed 09/13/14 Page 3 of 19




                                          DEFINITIONS

       1.      Unless otherwise defined herein, all definitions from the June 25, 2014 Settlement

Agreement (Dkt. No. 6073-2) are adopted and incorporated by reference.

       2.      “ALS” shall mean the disease known as amyotrophic lateral sclerosis, often

referred to as Lou Gehrig's Disease or as ALS.

       3.      “Mediator” shall refer to retired U.S. District Judge Layn Phillips, as well as

anyone at the law firm Irell & Manella LLP and anyone working on his behalf.

       4.      The “NFL Parties” shall mean Defendants National Football League and NFL

Properties, LLC, as well as their legal counsel, retained or advising experts, or agents.

       5.      “Representative Plaintiffs” shall mean Kevin Turner and Shawn Wooden, as well

as their legal counsel (including both class counsel and counsel for the two subclasses), retained

or advising experts, or agents.

       6.      “Settlement” shall mean the Settlement Agreement adopted by the Settling Parties

on June 25, 2014, and preliminarily approved by the Court on July 7, 2014.

       7.      “Special Master” shall refer to Perry Golkin, the Court-appointed special master

in this case, or anyone acting on his behalf.

       8.      “TBI” shall mean any sort of traumatic brain injury, including but not limited to a

mild traumatic brain injury, concussion, or sub-concussive brain injury.

       9.      The word “document” or “documents” as used in these requests shall be construed

as broadly as permitted under the Federal Rules of Civil Procedure and includes, without

limitation, any notes, drafts, agendas, memoranda, transactional or marketing material, letters, e-

mails or other electronic mailings, reports, telegrams, facsimile transmissions, text messages,

publications, presentations, contracts, drawings, designs, data sheets, specifications, research,

analyses, valuations, records, calendars, journals, diaries, summaries, voicemail, audio
                                                 2
       Case 2:12-md-02323-AB Document 6169-2 Filed 09/13/14 Page 4 of 19




recordings, transcripts of recordings, videotapes, agreements, assignments, books, binders,

accounts, photographs, business records, electronic data, and electronic or computerized data

compilations, relating or pertaining in any way to the subject matter to which the requests for

production refer. A draft, non-identical copy, or identical document in a separate file or location,

or maintained by a different custodian, is a separate document within the meaning of this term.

                                   DOCUMENT REQUESTS

       1.      The documents exchanged among one or more of Representative Plaintiffs, the

NFL Parties, the Mediator, and/or the Special Master, to the extent not already disclosed in

Docket Entries 6167 and 6168, relating to settlement discussions in this lawsuit.

       2.      All drafts of the Settlement and all drafts of the earlier settlement agreement that

was filed in this action on January 6, 2014.

       3.      All drafts of the long form and short form notice sent to the class.

       4.      All player surveys, physician surveys, and data sets regarding the consequences of

TBIs among football players.

       5.      All documents reflecting any cost/benefit analyses performed concerning injuries

resulting from TBIs and changes to NFL football, including changes to the rules of the game.

       6.      All documents regarding projections of the incidence of CTE, Alzheimer’s

Disease, Parkinson’s Disease, or ALS in retired NFL players, including any documents consulted

or relied upon in determining responses to Interrogatory Nos. 1 and 2 below.

       7.      Materials provided by the NFL Parties to members of the MTBI Committee, and

agendas and minutes of the meetings of the MTBI Committee.

       8.      All documents reflecting communications by the NFL Parties to NFL players or

teams concerning the risks, or lack thereof, associated with TBIs.

       9.      All documents reflecting health risks to football players associated with TBIs.
                                                 3
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                                     INTERROGATORIES

       1.      State your best estimate as to how many retired NFL players had each of

Alzheimer’s Disease, Parkinson’s Disease, ALS, and CTE at any time prior to July 7, 2014, and

state how each estimate was determined. For the estimate as to CTE, specify how many of the

estimated number of players were alive and how many were deceased as of July 7, 2014. If any

of the estimates include players who also are included in your estimate for another of the listed

maladies, please specify that for those estimates.

       2.      State your best estimate as to how many retired NFL players will have each of

Alzheimer’s Disease, Parkinson’s Disease, ALS, and CTE during the 65 years following July 7,

2014, and state how each estimate was determined. If any of the estimates include players who

also are included in your estimate for another of the listed maladies, please specify that for those

estimates.

       3.      Why does the Settlement provide a Monetary Award of up to $4 million to retired

NFL players who died with CTE prior to July 7, 2014, but does not provide the same Monetary

Award to a retired NFL player who dies with CTE after that date?

       4.      Why does the Settlement provide a 75% reduction in any Monetary Award to

retired NFL players who suffer a stroke or who incur a single TBI?

       5.      Why does the Settlement exclude credit for years played in the World League of

American Football, the NFL Europe League, or the NFL Europa League?

       6.      Identify any information that was exchanged between the Representative

Plaintiffs and the NFL Parties and that is not contained in the documents being produced in

response to Document Request No. 1 above.




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       7.      Provide the name and professional qualifications of each individual on whose

testimony (written or oral) any of the Settling Parties intends to rely at the fairness hearing, and

for each such person identify the substance of the testimony.



                                                                Respectfully submitted,
Dated: September 13, 2014                                       /s/ Steven F. Molo

William T. Hangley              Linda S. Mullenix               Steven F. Molo
Michele D. Hangley              2305 Barton Creek Blvd.         Thomas J. Wiegand
HANGLEY ARONCHICK SEGAL         Unit 2                          Kaitlin R. O’Donnell
PUDLIN & SCHILLER               Austin, TX 78735                MOLOLAMKEN LLP
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18th & Cherry Streets           lmullenix@hotmail.com           New York, NY 10022
27th Floor                                                      (212) 607-8160 (telephone)
Philadelphia, PA 19103                                          (212) 607-8161 (facsimile)
(215) 496-7001 (telephone)                                      smolo@mololamken.com
(215) 568-0300 (facsimile)                                      twiegand@mololamken.com
whangley@hangley.com                                            kodonnell@mololamken.com
mdh@hangley.com
                                                                Eric R. Nitz
                                                                MOLOLAMKEN LLP
                                                                600 New Hampshire Ave., N.W.
                                                                Washington, DC 20037
                                                                (202) 556-2000 (telephone)
                                                                (202) 556-2001 (facsimile)
                                                                enitz@mololamken.com
                                     Attorneys for Objectors




                                                 5
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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                      No. 2:12-md-02323-AB
INJURY LITIGATION                               MDL No. 2323


Kevin Turner and Shawn Wooden,                  Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

          Plaintiffs,

              v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS



       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 30(b)(6),

Class Members Sean Morey, Alan Faneca, Roderick Cartwright, Robert Royal, Ben Hamilton,

Jeff Rohrer, and Sean Considine (collectively “Movants”), through undersigned counsel, hereby

notice the deposition of the National Football League (“NFL”) as an organization on the topics

detailed below. This deposition may be videotaped. The NFL shall identify the person(s) who

will speak on its behalf on each topic below at least seven days before the deposition(s). The

taking of this deposition may be adjourned from day to day until completed.

DATE OF DEPOSITION:                 October 3, 2014
       Case 2:12-md-02323-AB Document 6169-2 Filed 09/13/14 Page 8 of 19




LOCATION OF DEPOSITION:                MoloLamken LLP
                                       540 Madison Avenue
                                       New York, NY 10022


                            DEFINITIONS AND INSTRUCTIONS

                                          DEFINITIONS

       1.      “ALS” shall mean the disease known as amyotrophic lateral sclerosis, often

referred to as Lou Gehrig’s Disease or as ALS.

       2.      The “Complaint” shall mean the Plaintiffs’ Class Action Complaint filed on

January 6, 2014 in action 2:14-cv-00029 (Dkt. No. 1).

       3.      “Mediator” shall refer to retired U.S. District Judge Layn Phillips, as well as

anyone at the law firm Irell & Manella LLP and anyone working on his behalf.

       4.      The “NFL Parties” shall mean Defendants National Football League and NFL

Properties, LLC, as well as their legal counsel, retained or advising experts, or agents.

       5.      “Representative Plaintiffs” shall mean Kevin Turner and Shawn Wooden, as well

as their legal counsel (including both class counsel and counsel for the two sub-classes), retained

or advising experts, or agents.

       6.      “Settlement” shall mean the Settlement Agreement adopted by the Settling Parties

on June 25, 2014, and preliminarily approved by the Court on July 7, 2014.

       7.      “Special Master” shall refer to Perry Golkin, the Court-appointed special master

in this case, or anyone acting on his behalf.

       8.      “TBI” shall mean any sort of traumatic brain injury, including but not limited to a

mild traumatic brain injury, concussion, or sub-concussive brain injury.

       9.      Unless otherwise defined herein, all definitions from the June 25, 2014 Settlement

are adopted and incorporated by reference.



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      Case 2:12-md-02323-AB Document 6169-2 Filed 09/13/14 Page 9 of 19




                                   DEPOSITION TOPICS

       1.      Whether “the NFL has been aware that multiple blows to the head can lead to

long-term brain injury, including but not limited to memory loss, dementia, depression, and CTE

and its related symptoms,” as alleged in paragraph 89 of the Complaint.

       2.     Whether “the NFL misled players, coaches, trainers, and the public, and actively

spread disinformation” regarding the potential consequences of TBIs, as alleged in paragraph

223 of the Complaint.

       3.     The exchange of information and negotiations that resulted in the Settlement.

       4.     The analysis of the number of retired NFL players who had Alzheimer’s Disease,

Parkinson’s Disease, ALS, or CTE at any time prior to July 7, 2014.

       5.     The analysis and projections of the number of retired NFL players who will have

Alzheimer’s Disease, Parkinson’s Disease, ALS, or CTE at any time after July 7, 2014.


       6.     How the amounts were calculated for the Baseline Assessment Program in the

Settlement as well as the Monetary Award Fund in the initial settlement proposed to the Court on

January 6, 2014.




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Dated: September 13, 2014                                  Respectfully submitted,
                                                           /s/ Steven F. Molo



William T. Hangley           Linda S. Mullenix             Steven F. Molo
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18th & Cherry Streets        lmullenix@hotmail.com         New York, NY 10022
27th Floor                                                 (212) 607-8160 (telephone)
Philadelphia, PA 19103                                     (212) 607-8161 (facsimile)
(215) 496-7001 (telephone)                                 smolo@mololamken.com
(215) 568-0300 (facsimile)                                 twiegand@mololamken.com
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                                                           enitz@mololamken.com


                                 Attorneys for Objectors




                                            4
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 AO 88A (Rev. 12/13) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                         Eastern District
                                                        __________        of Pennsylvania
                                                                     District of __________

           IN RE: NATIONAL FOOTBALL                                             )
           LEAGUE PLAYERS’ CONCUSSION                                           )
           INJURY LITIGATION                                                    )      Civil Action No.      2:12-md-02323
           ________________________________                                     )
           THIS DOCUMENT RELATES TO:                                            )
           ALL ACTIONS                                                          )

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                                         Arnold Levin

                                                        (Name of person to whom this subpoena is directed)

      ✔Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
      u
 deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
 or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
 those set forth in an attachment:


  Place: Hangley Aronchick Segal & Pudlin                                               Date and Time:
            One Logan Square, 27th Floor                                                                  09/30/2014 9:00 am
            Philadelphia, PA 19103-6933

           The deposition will be recorded by this method:                    stenographic and video recording

       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:
                                    CLERK OF COURT
                                                                                            OR

                                            Signature of Clerk or Deputy Clerk                                  Attorney’s signature

 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Sean Morey, Alan
 Faneca, Ben Hamilton, Robert Royal, Roderick Cartwright, et al.         , who issues or requests this subpoena, are:
Thomas J. Wiegand, MoloLamken LLP, 540 Madison Avenue, New York, NY 10022
email: twiegand@mololamken.com, phone: (212) 607-8180
                               Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things, a notice
 and a copy of the subpoena must be served on each party in this case before it is served on the person to whom it is
 directed. Fed. R. Civ. P. 45(a)(4).
                  Case 2:12-md-02323-AB Document 6169-2 Filed 09/13/14 Page 12 of 19
AO 88A (Rev. 12/13) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 2:12-md-02323

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
                   Case 2:12-md-02323-AB Document 6169-2 Filed 09/13/14 Page 13 of 19

AO 88A (Rev. 12/13) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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 AO 88A (Rev. 12/13) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                              for the
                                                         Eastern District
                                                        __________        of Pennsylvania
                                                                     District of __________

           IN RE: NATIONAL FOOTBALL                                              )
           LEAGUE PLAYERS’ CONCUSSION                                            )
           INJURY LITIGATION                                                     )      Civil Action No.     2:12-md-02323
           ________________________________                                      )
           THIS DOCUMENT RELATES TO:                                             )
           ALL ACTIONS                                                           )

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                                         Dianne M. Nast

                                                        (Name of person to whom this subpoena is directed)

      ✔Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
      u
 deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
 or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
 those set forth in an attachment:


  Place: Hangley Aronchick Segal & Pudlin                                                Date and Time:
            One Logan Square, 27th Floor                                                                   10/01/2014 9:00 am
            Philadelphia, PA 19103-6933

           The deposition will be recorded by this method:                      stenographic and video recording

       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:
                                    CLERK OF COURT
                                                                                           OR

                                            Signature of Clerk or Deputy Clerk                                  Attorney’s signature

 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Sean Morey, Alan
 Faneca, Ben Hamilton, Robert Royal, Roderick Cartwright, et al.         , who issues or requests this subpoena, are:
Thomas J. Wiegand, MoloLamken LLP, 540 Madison Avenue, New York, NY 10022
email: twiegand@mololamken.com, phone: (212) 607-8180
                               Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things, a notice
 and a copy of the subpoena must be served on each party in this case before it is served on the person to whom it is
 directed. Fed. R. Civ. P. 45(a)(4).
                  Case 2:12-md-02323-AB Document 6169-2 Filed 09/13/14 Page 15 of 19
AO 88A (Rev. 12/13) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 2:12-md-02323

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
                   Case 2:12-md-02323-AB Document 6169-2 Filed 09/13/14 Page 16 of 19

AO 88A (Rev. 12/13) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
                   Case 2:12-md-02323-AB Document 6169-2 Filed 09/13/14 Page 17 of 19
 AO 88A (Rev. 12/13) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                         Eastern District
                                                        __________        of Pennsylvania
                                                                     District of __________

           IN RE: NATIONAL FOOTBALL                                             )
           LEAGUE PLAYERS’ CONCUSSION                                           )
           INJURY LITIGATION                                                    )      Civil Action No.      2:12-md-02323
           ________________________________                                     )
           THIS DOCUMENT RELATES TO:                                            )
           ALL ACTIONS                                                          )

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                                 Christopher A. Seeger

                                                        (Name of person to whom this subpoena is directed)

      ✔Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
      u
 deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
 or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
 those set forth in an attachment:


  Place: MoloLamken LLP                                                                 Date and Time:
            540 Madison Avenue                                                                            10/02/2014 9:00 am
            New York, New York 10022

           The deposition will be recorded by this method:                    stenographic and video recording

       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:
                                    CLERK OF COURT
                                                                                          OR

                                            Signature of Clerk or Deputy Clerk                                  Attorney’s signature

 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Sean Morey, Alan
 Faneca, Ben Hamilton, Robert Royal, Roderick Cartwright, et al.         , who issues or requests this subpoena, are:
Thomas J. Wiegand, MoloLamken LLP, 540 Madison Avenue, New York, NY 10022
email: twiegand@mololamken.com, phone: (212) 607-8180
                               Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things, a notice
 and a copy of the subpoena must be served on each party in this case before it is served on the person to whom it is
 directed. Fed. R. Civ. P. 45(a)(4).
                  Case 2:12-md-02323-AB Document 6169-2 Filed 09/13/14 Page 18 of 19
AO 88A (Rev. 12/13) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 2:12-md-02323

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
                   Case 2:12-md-02323-AB Document 6169-2 Filed 09/13/14 Page 19 of 19

AO 88A (Rev. 12/13) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
